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 8                                    UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          No. 1:18-cr-00158 DAD-BAM
12                       Plaintiff,
13          v.                                          STIPULATION AND ORDER
14   FELIPE ANGELES VALDEZ-COLIMA,
15                       Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendants,

18   by and through their counsel of record, hereby stipulate as follows:

19          1.      The parties previously agreed to set this matter for a change of plea before the

20                  district court on October 15, 2018.

21          2.      The defendant has since had a change of heart.

22          3.      The parties therefore agree to continue this matter to January 14, 2019, at 1 p.m.,

23                  the status conference previously set for the co-defendants.

24          4.      The parties further agree and stipulate, and request that the Court find the

25                  following:

26                  a.       The parties need additional time to assess a potential disposition of the case

27   and/or conduct additional investigation and/or prepare for trial.

28                  b.       The parties believe that failure to grant the above-requested continuance
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 1   would deny the defendant the reasonable time necessary for effective resolution, further
 2   investigation, and/or trial preparation, taking into account the exercise of due diligence, and
 3   would deny the government continuity of counsel.
 4                  c.      Based on the above-stated findings, the ends of justice served by
 5   continuing the case as requested outweigh the interest of the public and the defendant in a trial
 6   within the original date prescribed by the Speedy Trial Act.
 7                  d.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
 8   3161, et seq., within which trial must commence, the time period of October 15, 2018, to January
 9   14, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), because it
10   results from a continuance granted by the Court at the parties’ request on the basis of the Court's
11   finding that the ends of justice served by taking such action outweigh the best interest of the
12   public and the defendant in a speedy trial.
13          4.      Nothing in this stipulation and order shall preclude a finding that other provisions
14   of the Speedy Trial Act dictate that additional time periods are excludable from the period
15   IT IS SO STIPULATED.
16   DATED:         October 11, 2018.      Respectfully submitted,
17                                         McGREGOR W. SCOTT
18                                         United States Attorney

19                                         /s/ Karen A. Escobar___________________
                                           KAREN A. ESCOBAR
20                                         Assistant United States Attorney
21

22   DATED:         October 11, 2018.

23                                         /s/ Fredric Jon Gagliardini
                                           FREDRIC JON GAGLIARDINI
24                                         Counsel for Felipe Angeles Valdez-Colima
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 1                                                ORDER
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 3          The court has reviewed and considered the stipulation of the parties to continue the
 4   change of plea and sentencing hearing in this case. Good cause appearing, the change of plea
 5   hearing currently set for October 15, 2018, is vacated and a status conference is set for January
 6   14, 2019, at 1:00 PM in Courtroom 8 (BAM) before Magistrate Judge Barbara A. McAuliffe.
 7   The time period between October 15, 2018 and January 14, 2019 is excluded under the Speedy
 8   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A), as the ends of justice served by granting the
 9   continuance outweigh the best interest of the public and the defendant in a speedy trial.
10   IT IS SO ORDERED.
11
        Dated:     October 11, 2018
12                                                        UNITED STATES DISTRICT JUDGE

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